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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA                )
                                        )
             v.                         )     1:12-cr-00160-JAW
                                        )
MALCOLM FRENCH, et al.                  )

                        ORDER ON AUDIO OF VOIR DIRE

      During oral argument, the Court asked counsel whether they recalled how the

Magistrate Judge pronounced Steve Koenig’s last name when she read the name on

the witness list; that is, whether she pronounced the name the way it reads, “Co-nig”,

or the way Mr. Koenig pronounces it, “Kane-nig”. No one could recall. Following the

hearing, the Court asked the court reporter whether the audio for the voir dire exists

and the court reporter confirmed that it does. The Court listened to the audio of this

portion of the voir dire and the Court heard the Magistrate Judge read the name

“Koenig” as “Co-nig”, not “Kane-nig”.

      The Court ORDERS counsel within seven days from the date of this Order to

make arrangements to listen to the audio and to object, if necessary, to the Court’s

conclusion. If counsel do not object within seven days of the date of this Order, the

Court will consider this pronunciation difference in issuing its Order on the pending

motion for new trial.

      SO ORDERED.

                                        /s/ John A. Woodcock, Jr.
                                        JOHN A. WOODCOCK, JR.
                                        UNITED STATES DISTRICT JUDGE

Dated this 18th day of March, 2015
